     Case 4:15-cv-02226 Document 39-1 Filed on 10/31/16 in TXSD Page 1 of 1



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

JACQUELINE DENISE SMITH,                            §
Independent Administrator of the Estate of          §
Danarian Hawkins, Deceased,                         §
                                                    §
                      Plaintiff,                    §
v.                                                  §
                                                    §
HARRIS COUNTY, TEXAS,                               §         CIVIL ACTION NO. H-14-2226
                                                    §
                      Defendant.                    §
                                                    §
                                                    §



     ORDER DENYING MOTION DEFENDANT’S RENEWED MOTION TO DISMISS

       The Court, having considered Defendant’s Renewed Motion to Dismiss and Plaintiff’s

response thereto, hereby DENIES the motion in its entirety.

Signed at Houston, TX on this _____ day of _______ 2016.



                                             _____________________________________

                                             United States District Judge Ewing Werlein, Jr.
